                 3:16-cv-00468-MBS                Date Filed 07/18/16          Entry Number 17           Page 1 of 1

AO 450 (SCD 04/2010) Judgment in a Civil Action


                                        UNITED STATES DISTRICT COURT
                                                                 for the
                                                        District of South Carolina


                      James B. Skelton                              )
                            Plaintiff                               )
                            v.                                      )         Civil Action No.      3:16-468-MBS
                    Dr. Peggy Wadman                                )
                           Defendant                                )

                                                  JUDGMENT IN A CIVIL ACTION
The court has ordered that (check one):

’ the plaintiff (name)                   recover from the defendant (name)              the amount of                dollars ($   ),
which includes prejudgment interest at the rate of            %, plus postjudgment interest at the rate of           %, along with
costs.
G the plaintiff recover nothing, the action be dismissed without prejudice and without issuance and service of process.

O other: The complaint is summarily dismissed without prejudice and without issuance and service of process.



This action was (check one):
’ tried by a jury, the Honorable                            presiding, and the jury has rendered a verdict.

’ tried by the Honorable                          presiding, without a jury and the above decision was reached.

O decided by the Honorable Margaret B. Seymour, Senior United States District Judge, adopting the Report and
Recommendation of the Honorable Jacquelyn D. Austin, United States Magistrate Judge, summarily
dismissing case without prejudice and without issuance and service of process.


Date: July 18, 2016                                                          CLERK OF COURT


                                                                                                 s/Mary E. Deal
                                                                                         Signature of Clerk or Deputy Clerk
